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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                          CRIMINAL FILE NO.
        V.                                1:12-CR-183-2-TWT
 ANWAND RASHARD JACKSON,
   Defendant.


                                    ORDER

      This is a criminal case. It is before the Court on the Defendant’s Motion for

Recommendation [Doc. 166]. It is my policy that I leave decisions about halfway

house placement to the Bureau of Prisons. The            Defendant’s Motion for

Recommendation [Doc. 166] is DENIED without prejudice.

      SO ORDERED, this 31 day of January, 2018.


                               /s/Thomas W. Thrash
                               THOMAS W. THRASH, JR.
                               United States District Judge
